8:03-cr-00290-RFR-SMB   Doc # 489   Filed: 07/24/12    Page 1 of 2 - Page ID # 4444



                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court upon defendant’s
“motion to reconsider” (Filing No. 488) regarding the Court’s

June 19, 2012, memorandum opinion (Filing No. 486) and order and

judgment (Filing No. 487).      Upon remand from the United States

Court of Appeals for the Eighth Circuit (“Eighth Circuit”), the

Court was directed to reconsider defendant’s motion to reduce

sentence pursuant to 18 U.S.C. § 3582(c)(2) in light of amendment

706 to the United States Sentencing Commission Guidelines Manual.

U.S. v. McKoy, 665 F.3d 968 (8th Cir. 2011).              Further, the Court

was directed by the Eighth Circuit to consider changes made to
the policy statement applicable to § 3582(c)(2) motions.                 Id.

           The Court found that the changes made to the policy

statement were not applicable to defendant’s § 3582(c)(2) motion

because, after the Court calculated defendant’s sentence in light

of amendment 706's retroactivity, the Court found the defendant

is not entitled to a sentence reduction.              The Court has reviewed

these findings, and its decisions will stand.              Thus, the Court

will deny defendant’s motion to reconsider.             Accordingly,
8:03-cr-00290-RFR-SMB   Doc # 489   Filed: 07/24/12   Page 2 of 2 - Page ID # 4445



           IT IS ORDERED that defendant’s motion to reconsider

(Filing No. 488) is denied.

           DATED this 24th day of July, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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